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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                     Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.


   GOVERNMENT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, respectfully requests that this Court extend the deadline for filing one motion

in limine. Until this week, the government and counsel for defendant Roger J. Stone, Jr., had been

negotiating a stipulation to the admissibility of the transcript of Stone’s testimony before the House

Permanent Select Committee on Intelligence. Those negotiations have concluded without success,

and therefore the government intends to file a motion in limine to admit the transcript without a

stipulation. Because the negotiations on this issue concluded just two days ago, the government

respectfully requests that the Court permit the government to file its motion on this issue four

weeks beyond the July 26, 2019 deadline for motions in limine set forth in the Scheduling Order.

Defense counsel has authorized the government to advise the Court that the defense does not

oppose this request.

                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      U.S. Attorney for the District of Columbia

                                                      By:    /s/
                                                      Jonathan Kravis
                                                      Michael J. Marando
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July 26, 2019




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